       Case 1:07-cr-00245-LJO Document 64 Filed 05/13/08 Page 1 of 2
     Robert D. Wilkinson #100478
 1           B AK E R , M AN O C K & J E N S E N
                  A P RO F ES SI O NA L CO RP ORA TI O N
               F IG G A R D E N F IN A N C IA L C E N T E R
 2         5260 NORTH PALM AVENUE, FOURTH FLOOR
             FRESNO, CALIFORNIA 93704-2209
 3              TE L E P H O N E (559) 432-5400
                TE L E C O P IE R (559) 432-5620

 4
                              Defendant DONNA MARQUE NELSON
 5   Attorneys for

 6

 7

 8                                                            UNITED STATES DISTRICT COURT

 9                                                        EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                                               )   Case No.1:07 CR 00245 LJO
                                                                             )
12                                                              Plaintiff,   )
                                                                             )   WAIVER OF DEFENDANT DONNA
13             v.                                                            )   MARQUE NELSON’S PERSONAL
                                                                             )   APPEARANCE
14   DONNA MARQUE NELSON, et al.,                                            )
                                                                             )   (Fed. R. Crim. Proc., Rule 43)
15                                                            Defendants.    )
                                                                             )
16                                                                           )

17                            Defendant hereby waives the right to be present in person in open court for hearings

18   upon questions of law, status conferences, and pre-trial conferences. Defendant hereby requests the

19   court to proceed during her absence on every occasion which the court may permit pursuant to this

20   waiver; and agrees that her interests will be deemed represented at all times by the presence of her

21   attorney, the same as if defendant were personally present. This request is made pursuant to Fed. R.

22   Crim. P. 43(b)(3).

23

24   DATED: May 9, 2008.                                                         /s/ Donna Marque Nelson
                                                                                 Donna Marque Nelson
25                                                                               790 Broadway, Apartment B
                                                                                 Atwater, California 95301
26

27   ///

28   ///



                  W AIVER OF DEFENDANT DONNA M ARQUE NELSON’S PERSONAL APPEARANCE
        Case 1:07-cr-00245-LJO Document 64 Filed 05/13/08 Page 2 of 2

 1   APPROVED:

 2

 3    /s/ Robert D. Wilkinson
     Robert D. Wilkinson
 4   Attorney for Defendant

 5   DATED: May 9, 2008.

 6

 7                                                  ORDER

 8                        GOOD CAUSE APPEARING, it is hereby ordered that the defendant’s appearance

 9   may be waived for hearings upon a question of law, status conferences, and pre-trial conferences

10   unless otherwise ordered by the court.

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17   K:\LJO\To_Be_Signed\07cr245.order.wpd


18   10924.0021   IT IS SO ORDERED.

19   Dated:         May 12, 2008                       /s/ Lawrence J. O'Neill
     b9ed48                                        UNITED STATES DISTRICT JUDGE
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                   W AIVER OF DEFENDANT DONNA M ARQUE NELSON’S PERSONAL APPEARANCE
